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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA



NATASHA CAPEHART                                     :      CIVIL ACTION
                                                     :
                                                     :
       v.                                            :
                                                     :
NCO FINANCIAL SYSTEMS, INC.                          :      NO. 10-CV-5738



                                             ORDER

               AND NOW, this 8TH day of FEBRUARY 2011, it having been reported that the
issues between the parties in this matter have been settled, and pursuant to the provisions of Rule
41.1(b) of the Local Rules of Civil Procedure, it is hereby ORDERED that this matter is
DISMISSED with prejudice. It is further ORDERED that all pending motions are DENIED
as moot. The Clerk of Court is directed to statistically close this matter.



                                                     MICHAEL E. KUNZ, Clerk of Court




                                                     BY: /S/CAROL SAMPSON
                                                        Carol Sampson
                                                        Deputy Clerk


02/08/11 - CS
C. T. Kimmel
R. S. Enders
